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_________________________________________________________________________________

                                              SO ORDERED,



                                              Judge Jason D. Woodard
                                              United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________



             IN THE UNITED STATES BANKRUPTCY COURT FOR
                 THE NORTHERN DISTRICT OF MISSISSIPPI


IN THE MATTER OF:                                       CHAPTER 13 CASE NO.:

ANNIE D. LESTER                                         13-13867-JDW

        AGREED ORDER DENYING MOTION TO REINSTATE (DKT. #83)

      THIS MATTER came before the Court on the Motion to Reinstate Case (Dkt.
#83) (the “Motion”) filed by the Debtor and Trustee’s Objection to Motion to
Reinstate Case (Dkt. #89) file by Locke D. Barkley, Chapter 13 Trustee (the
“Trustee”). Upon agreement of the parties,
      IT IS THEREFORE ORDERED that the Motion shall be and is hereby
denied. This case shall remain dismissed.
                                 ##END OF ORDER##

AGREED & APPROVED:

/s/ Melanie T. Vardaman
MELANIE T. VARDAMAN
ATTORNEY FOR TRUSTEE
                                                                    Prepared by:
/s/ Karen B. Schneller                                              Melanie T. Vardaman, Esq.
                                                                    Attorney for Trustee
KAREN B. SCHNELLER                                                  6360 I-55 North, Suite 140
                                                                    Jackson, Miss. 39211
ATTORNEY FOR DEBTOR                                                 (601) 355-6661
                                                                    ssmith@barkley13.com
                                                                    MSB No. 100392
